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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                                   §
                                                         §                Case No. 20-30968
Watson Valve Services, Inc.,                             §
                                                         §                        Chapter 11
         Debtor.                                         §


   DEBTOR’S APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
  EMPLOYMENT AND RETENTION OF MACCO RESTRUCTURING GROUP
           LLC AS FINANCIAL ADVISOR FOR THE DEBTOR


      THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
      YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
      MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
      PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY
      TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE
      WITHIN TWENTY-ONE (21) DAYS OF THE DATE THIS WAS SERVED ON YOU.
      YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE
      GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
      GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
      MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND
      THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
      MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
      MOTION AT THE HEARING.

    TO THE HONORABLE                                MARVIN            ISGUR,         UNITED    STATES
BANKRUPTCY JUDGE:

         Watson Valve Services, Inc. (“WVS”), Debtor and Debtor-In-Possession in the

above-styled case (“Debtor”) files this application (“Application”) for the entry of an

order, under Sections 327(a) and 330 of title 11 of the United States Code, 11 U.S.C. §§

101-1532 (“Bankruptcy Code”), Rules 2014 and 2016 of the Federal Rules of

bankruptcy Procedure (“Bankruptcy Rules”) and Rules 2014-1 and 2016-1 of the Local

Bankruptcy Rules of the United States Bankruptcy Court for the Southern District of

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Texas (“Local Rules”), authorizing the employment and retention of MACCO

Restructuring Group LLC (“MACCO”) as financial advisor to the Debtor effective as of

the Petition Date (as defined below). In support of this Application, the Debtor relies on

the Declaration of Drew McManigle (“McManigle”) in Support of Debtor’s Application

to Employ (“McManigle Declaration”), attached as Exhibit A. In further support of this

Application, the Debtor respectfully states as follows:

                                       JURISDICTION AND VENUE

        1.       This Court has jurisdiction over this application pursuant to 28 U.S.C. §§

157 and 1334. Venue of the Debtor’s case in this district is proper pursuant to 28 U.S.C.

§ 1408. This matter is a core proceeding under 28 U.S.C. § 157(b)(2). This Court has the

constitutional authority to enter a final order on this application, and if not, the Debtor

consents to entry of a final order.

                                          BACKGROUND FACTS

        2.       On February 6, 2020 (“Petition Date”), the Debtor filed a voluntary

petition under chapter 11 of title 11 of the United States Code (“Bankruptcy Code”). On

that same date, Watson Grinding & Manufacturing Co. (“Watson Grinding”) also filed a

voluntary petition under chapter 11 of the Bankruptcy Code. The Debtor continues to

operate its business and manage its properties as a debtor in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

appointed in this chapter 11 case.

        3.       On     February       10,    2020,     the    January      24    Claimants   Committee

(“Committee”) was appointed by the Office of the United States Trustee (“United States


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Trustee”) in the Watson Grinding bankruptcy case, Case No. 20-30967, pending in this

Court.

         4.      Watson Valve is a relatively young company. It was founded in 2002 to

meet the growing needs of the severe service valve industry. Watson Valve has grown

exponentially since its inception and serves its clients throughout the world. Watson

Valve is headquartered in Houston, Texas.                    Watson Valve specializes in supplying

specialty and custom valves for the severe service ball value market, with a specialty in

valves for autoclaves used to mine gold.

         5.      Watson Valve is owned in the following percentages:

                                                 John Watson 70%
                                                 Robert White 15%
                                                 Jason White 15%

         6.      John Watson is the Chief Executive Officer of the Debtor and continues to

serve in that capacity. Robert White is the Chief Operating Officer of the Debtor and

continues to serve in that capacity. Jason White is the Executive Vice President of the

Debtor and continues to serve in that capacity. John Watson, Robert White, and Jason

White are employees of the Debtor and serve on the Debtor’s board of directors.

         7.      Watson       Valve’s       assets     primarily      consist     of   receivables,     raw

materials/inventory, intellectual property, and insurance proceeds stemming from a tragic

explosion at Watson Grinding’s thermal coating facility.

         8.      Additional factual background information regarding the Debtor, including

its business operations, and the events leading up to this Chapter 11 filing is set forth in




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detail in the Declaration of Robert L. White in Support of Chapter 11 Petition and First

Day Motions.

                                           RELIEF REQUESTED

        9.       The Debtor seeks entry of an order authorizing it to employ and retain

MACCO as financial advisor McManigle as chief restructuring officer during this chapter

11 case, pursuant to and in accordance with the terms and conditions set forth in the

engagement agreement, a copy of which is attached as Exhibit B. On or about March 6th,

2020 McManigle was asked to serve as CRO for the Debtor, a role he immediately

undertook. On or about March 14th, it was determined the services of a CRO were not

required by the Debtor and McManigle’s service in that role was concluded on March 15,

2020.

                            SCOPE OF SERVICES AND QUALIFICATIONS

        10.      The Debtor has determined, in the exercise of its business judgment, that

the size of its business operations and the complexity of the financial difficulties caused

by the January 24 explosion and its interruption on the Debtor’s business operations,

require them to employ a financial advisor with knowledge of the Debtor’s industry and

business and experience with the chapter 11 process, to advise them with respect to the

Debtor’s reorganization efforts. The Debtor further believes that MACCO is well-

qualified to provide its services to the Debtor on a cost-effective, efficient and timely

basis. MACCO will coordinate with the other retained professionals in this chapter 11

case to eliminate unnecessary duplication or overlap of work. Retaining such an advisor




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will enable the Debtor to carry out its duties in this chapter 11 case and maximize the

value of its estate for the benefit of all stakeholders.

        11.      McManigle is the Founder and Managing Director of MACCO, a financial

advisory services company providing interim-leadership, financial advisory, operational

improvement and fiduciary services to middle market companies, which was established

in July 2019. McManigle has been a professional in the restructuring industry for more

than 25 years serving in roles officer, interim CEO, operating chapter 11 trustee, assignee

and receiver (domestically and internationally) where he provided interim management,

leadership and advice to companies in a wide variety of industries that include oil and

gas, healthcare, pharma & food manufacturing, defense contracting, consumer products

and hospitality, among others. McManigle also has led and supervised complex litigation

at the federal, bankruptcy and state levels, including complex worldwide litigation.

        12.      MACCO specializes              in interim management, crisis     management,

turnaround consulting, operational due diligence, creditor advisory services, and financial

and operational restructuring. MACCO’s debtor advisory services have included a wide

range of activities targeted at stabilizing and improving a company’s financial position,

including development or validating forecasts, business plans and related assessments of

a business’s strategic position; monitoring and managing cash, cash flow and supplier

relationships; assessing and recommending cost reduction strategies; and designing and

negotiating financial restructuring packages. MACCO’s employees have substantial

experience in business restructuring and chapter 11 bankruptcy.




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        13.      Since the Petition Date, McManigle and MACCO have become familiar

with the Debtor’s businesses, financial affairs, and capital structure. They have worked

closely with the Debtor’s management and other professionals in assisting with the

myriad requirements of this chapter 11 case. Accordingly, the Debtor believes that

McManigle and MACCO have developed significant relevant experience and expertise

regarding the Debtor and the unique circumstances caused by the tragic January 24

explosion at the Debtor’s facility. For these reasons, MACCO is well qualified to deal

effectively and efficiently with matters that may arise in the context of this case.

        14.      Based on the foregoing, the Debtor seeks to employ MACCO as financial

advisor effective as of the Petition Date and McManigle as Chief Restructuring Officer

(for the period of March 6 to March 15, 2020). The Debtor anticipates that this

employment will make the Debtor’s respective operations more streamlined and effective

and assist in its efforts to reorganize. The efforts are critical to the Debtor’s success in

this case.

        15.      As more fully described in the engagement agreement, among other things,

MACCO will provide financial advisory services and management assistance to the

Debtor, develop a strategy for the Debtor’s reorganization, if feasible, and consult with

the Debtor’s bankruptcy counsel, advisors, creditors and the January 24 Claimants

Committee regarding this chapter 11 case. Specifically, MACCO will provide such

support services as appropriate and feasible in order to manage and advise the Debtor in

the course of this chapter 11 case. These services include:




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              a. Provide business and debt restructuring advice, including business strategy
                 among key elements of the Debtor’s business, as necessary;

              b. Assist or prepare a weekly 13-week cash flow forecast and related financial
                 and business models that can be utilized by management, among others, to
                 understand the Debtor’s liquidity;

              c. Review the inventory and other assets to determine its salability and
                 monetization;

              d. Assist in making operational decisions, including those which will or
                 potentially will, affect operations, contracting, accounting, staffing,
                 collection of accounts, cash and cash disbursements, and all similar
                 business undertakings;

              e. Assist in or implement cost containment procedures;

              f. Direct, supervise, hire and terminate the Company’s employees, consultants
                 and professionals (subject to applicable law and contractual obligations of
                 the Debtor);

              g. Assist in managing and controlling cash, cash outflows and financing
                 commitments that expend cash;

              h. Upon authorization, canceling, committing to, or renegotiating all
                 contracts;

              i. Assist in asset redeployment opportunities as deemed appropriate;

              j. Assist with negotiating with the Debtor’s creditors, the January 24
                 Claimants Committee, and all other parties-in-interest;

              k. Assist in the preparation of a cash collateral budget to be presented to the
                 bankruptcy court; and

              l. Evaluate and make recommendations in connection with strategic
                 alternatives as needed to maximize the value of the Debtor’s estate.

        16.      The Debtor believes that the services will not duplicate the services that

other professionals will be provided the Debtor in this chapter 11 case. Specifically,

MACCO will carry out unique functions and will use reasonable efforts to coordinate


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with the Debtor and other professionals retained in this case to avoid the duplication of

services.

                                   PROFESSIONAL COMPENSATION

        17.      Section 328(a) of the Bankruptcy Code authorizes the employment of a

professional person on any reasonable terms and conditions of employment, including on

an hourly basis. See 11 U.S.C. § 328(a).

        18.      The Debtor, subject to the provisions of the Bankruptcy Code, the

Bankruptcy Rules, and any applicable orders in this case, and subject to approval via final

fee application, proposes to employ MACCO as of the Petition Date and McManigle for

the period between March 6 and March 15, 2020. MACCO has agreed to not take a

retainer in this case. As of the Petition Date, MACCO did not hold a claim against the

Debtor. The compensation to be paid to McManigle shall be in accordance with normal

billing practices for services rendered and out-of-pocket expenses incurred on the

Debtor’s behalf. McManigle’s hourly rate will be $550.00 per hour. MACCO has agreed

to cap McManigle’s fees as CRO at $30,000/month. McManigle will be assisted by other

MACCO personnel whose hourly rates are below:




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        19.      As a material part of the consideration for which McManigle and MACCO

have agreed to provide the services to the Debtor, the Debtor and MACCO have agreed

that MACCO’s services are subject to indemnification up to the amount of earned fees by

MACCO in this bankruptcy case.

        20.      MACCO and McManigle understand that allowance of fees and expenses is

subject to this Court’s approval.

                                          DISINTERESTEDNESS

        21.      To the best of the Debtor’s knowledge and as disclosed in the McManigle

Declaration, MACCO and McManigle do not hold or represent an interest adverse to the

Debtor or the Debtor’s estate with respect to this bankruptcy case.

        22.      MACCO will continue to conduct periodic analyses to ensure that no

conflicts or other disqualifying circumstances exist or arise. If any new relevant facts or

relationships are discovered or arise, MACCO will use reasonable efforts to identify such

further developments and will promptly file a supplemental declaration, as required by

Bankruptcy Rule 2014(a).

        23.      To the best of the Debtor’s knowledge, and except as otherwise set forth in

this Application and the accompanying McManigle Declaration, the directors and

associates of MACCO (a) do not have any connection with the Debtor, any affiliates,

their creditors, any other party in interest, the United States Trustee or any person

employed in the office of the same, or any judge in the United States Bankruptcy Court

for the Southern District of Texas or any person employed in the offices of the same; (b)

are “disinterested persons,” as that term is defined in the Bankruptcy Code Section


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101(14), as modified by Bankruptcy Code Section 1107(b); and (c) do not hold or

represent any interest adverse to the Debtor’s estate.

        24.      The Debtor understands that MACCO will continue to conduct periodic

conflicts analyses to determine whether they are performing or have performed services

for any significant parties in interest in this chapter 11 case and will promptly update the

McManigle Declaration to disclose any material developments regarding the Debtor or

any other pertinent relationship that comes to MACCO and McManigle’s attention.

        25.      The Debtor submits that the engagement and retention of MACCO and

McManigle on the terms and conditions set forth herein is necessary and in the best

interest of the Debtor, its estate, and its creditors and should be approved.

        26.      The Debtor seeks retention and employment of MACCO as its financial

advisor and McManigle as CRO (for the period between March 6 and March 15, 2020)

pursuant to Section 327(a) of the Bankruptcy Code, which provides that a debtor may

employ (for a special specified purpose) an attorney that has represented the Debtor.

        27.      Likewise, Rule 2014(a) requires that an application for retention include

facts showing the necessity of employment, the name of the firm to be employed, the

reasons for selection, the professional services to be rendered, any proposed arrangement

for compensation, and any connections with the debtor, creditors, any party in interest,

their respective attorneys and accountants, the United States trustee, or any person

employed in the office of the United States trustee.

        28.      Generally, McManigle and MACCO have connections through the

Turnaround Management Association, and the American Bankruptcy Institute among


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other professional organizations including continuing education courses, professional

conferences and/or social media through which they may have connections to the Office

of the United States Trustee, judges, court staff, and other practitioners who may appear

in this case. However, no such connection is known that would give rise to any conflict,

potential conflict, or disinterestedness concern.

        29.      In addition, McManigle and MACCO have identified the following specific

connection: Eric Moll, a MACCO Financial Analyst, while in school had an internship at

Texas Capital Bank, was aware of and had visited Watson Grinding & met principals

with loan officer.

        30.      The Debtor submits that the retention and employment of McManigle and

MACCO under the terms described in this application are appropriate under sections

327(a), 328 and 1107(b) of the Bankruptcy Code. Section 327(a) of the Bankruptcy Code

empowers a trustee, with the Court’s approval, to employee professionals “that do not

hold or represent an interest adverse to the estate, and that are disinterested persons to r,

to represent or assist the trustee in carrying out the trustee’s duties under this title.” 11

U.S.C. § 327(a). Section 101(14) of the Bankruptcy Code defines a “disinterested person”

as: (a) someone that is not a creditor, equity security holder or insider; (b) is not and was

not, within two years before the date of the filing of the petition, a director, officer, or

employee of the debtor; and (c) does not have an interest materially adverse to the

interest of the estate or of any class of creditors or equity security holders, by reason of

any direct or indirect relationship to, connection with, or interest in, the debtor, or for any

other reason.


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        31.      The Debtor believes that for all of the reasons stated in this Application and

the McManigle Declaration, the employment of MACCO and McManigle is appropriate.

Furthermore, as stated in the McManigle Declaration, MACCO (as well as McManigle)

is a “disinterested person” within the meaning of section 101(14) and does not hold or

represent an interest adverse to the Debtor. Accordingly, the Debtor requests that this

Application be approved.

                                                   NOTICE

        32.      Notice of this application will be provided to (i) the Office of the United

States Trustee for the Southern District of Texas; (ii) the holders of the 20 largest

unsecured claims against the Debtor; (iii) the Internal Revenue Service; (iv) the United

States Attorney’s Office for the Southern District of Texas; (v) any other party entitled to

notice pursuant to Bankruptcy Rule 2002; (vi) any other party entitled to notice pursuant

to Local Rule 9013-1(d); (vii) Husch Blackwell as counsel for Texas Capital Bank; (viii)

counsel for state court litigation claimants; (ix) all parties requesting notice in these

cases; and (x) the attorney general for the State of Texas; (xi) counsel for the January 24

Claimants Committee in the Watson Grinding case (collectively, with the parties listed in

the preceding paragraph, “Notice Parties”); and (xii) any known counsel for any entities

listed above; and (xii) all those listed on the Master Service List in this case.

        WHEREFORE, the Debtor respectfully requests that this Court grant the relief

sought by this Application, approve the engagement of MACCO Restructuring Group

LLC as financial advisor and Drew McManigle as CRO, and grant such other further

relief as is just and proper.


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        Dated: March 17, 2020

                                                    Respectfully submitted,

                                                    WATSON VALVE SERVICES, INC.

                                                    By: /s/ John Watson
                                                       John Watson,
                                                       President and Chief Executive Officer


                                                    MCDOWELL HETHERINGTON LLP


                                                    By: /s/ Jarrod B. Martin

                                                    Jarrod B. Martin
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                                    CERTIFICATE OF SERVICE

        I certify that on March 17, 2020, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas and upon the entries listed below via United States regular
mail, first class postage prepaid by no later than the next business day pursuant to the local
rules.

        U.S. Trustee
        United States Trustee
        515 Rusk Street, Room 3516
        Houston, Texas 77002



                                                             /s/ Jarrod B. Martin
                                                             Jarrod B. Martin




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